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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                            Plaintiff,           )
                                                 )
v.                                               )      Case No. 4:06CR3019
                                                 )
IVAN ROJO OSUNA,                                 )
                                                 )
                            Defendant.           )

                                          ORDER

       THIS MATTER comes before the Court on defendant's Unopposed Motion to

Continue the Deadline for Filing Pretrial Motions, filing 20, from March 13, 2006, until

March 22, 2006. The Court, being fully advised in the premises, and noting that the

government has no objection, finds that said motion should be granted.

       IT IS THEREFORE ORDERED that the defendant shall file any pretrial motions in

the above captioned matter no later than Wednesday, March 22, 2006. This Court further

finds that, based upon the showing set forth in defendant’s Motion, the ends of justice will

be served by extending the deadline for filing pretrial motions. Further, that taking such

action outweighs the best interests of the public and the defendant in a speedy trial.

Accordingly, the time from March 13, 2006, until March 22, 2006, shall be excluded from

any speedy trial calculation pursuant to 18 U.S.C. §3161(h)(8)(A).

       Dated this 13th day of March, 2006.

                                          BY THE COURT


                                          s/ David L. Piester
                                          David L. Piester
                                          United States Magistrate Judge
